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                                                                        April 12, 2012


        VIA HAND DELIVERY

        The Honorable Lorna G. Schofield
        United States District Court
        Southern District of New York
        Thurgood Marshall-U.S. Courthouse
        40 Foley Square
        New York, New York 10007

                           Re:      Jody Kriss and Michael Ejekam v. Bayrock Group LLC, et al.
                                    (SDNY 2010 CV 3959)

        Dear Hon. Schofield:

                         This office represents defendants Bayrock Group LLC, Bayrock Spring Street
        LLC, Bayrock Whitestone LLC, Bayrock Camelback LLC, Bayrock Merrimac LLC and
        Bayrock Group Inc. (collectively herein, “Bayrock”). We are in receipt of this Court’s April 5,
        2013 Order (the “Order”), which permits Defendant Felix Satter to object to service and the
        filing of plaintiffs’ First Amended Complaint (the “Amended Complaint”).

                     Bayrock requests similar leave to review and object to the Amended Complaint.
        In making this application, Bayrock waives none of its potential defenses to any purported
        claims made by plaintiffs.1

                       Plaintiffs’ initial Complaint contained not only confidential information about
        Felix Satter, but also a plethora of Bayrock confidential and proprietary information and
        attorney-client privileged communications misappropriated from Bayrock by its former
        employee, Joshua Bernstein. Mr. Bernstein admittedly provided the confidential and privileged
        information to plaintiffs’ counsel in this action (and Mr. Bernstein’s attorney in an unrelated
        action), Mr. Oberlander, and then the information was included in plaintiffs’ Complaint.

                       As a result, Bayrock suspects that the Amended Complaint similarly contains
        purloined privileged and confidential Bayrock information and documents, or is derived from
        these stolen materials. Should the Amended Complaint contain or refer to this purloined

                1
                    By this application Bayrock does not offer a general notice of appearance.



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